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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                      )
MADISON M. LARA, et al.,              )
                                      )
                          Plaintiffs, )
                  v.                  )         Civil Action No.:
COL. ROBERT EVANCHICK, Commissioner )           2:20-cv-01582
                                      )
of Pennsylvania State Police,
                                      )
                          Defendant.  )
                                      )


       BRIEF OF AMICI CURIAE GIFFORDS LAW CENTER TO PREVENT
     GUN VIOLENCE AND CEASEFIRE PENNSYLVANIA EDUCATION FUND

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                        CORPORATE DISCLOSURE STATEMENTS

               Pursuant to Local Civil Rule 7.1 of the Western District of Pennsylvania and to

enable Judges and Magistrate Judges to evaluate possible disqualification or recusal, Giffords Law

Center to Prevent Gun Violence and CeaseFire Pennsylvania Education Fund certify as follows:

               Giffords Law Center to Prevent Gun Violence, an unincorporated non-profit policy

organization dedicated to researching, writing, enacting, and defending laws and programs proven

to effectively reduce gun violence, has no parents, subsidiaries and/or affiliates that have issued

shares or debt securities to the public.

               CeaseFire Pennsylvania Education Fund, an unincorporated non-profit policy

organization dedicated to reducing gun violence in Pennsylvania communities through outreach,

education, coalition building, and advocacy, has no parents, subsidiaries and/or affiliates that have

issued shares or debt securities to the public.




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                            INTEREST OF THE AMICI CURIAE

               Amicus curiae Giffords Law Center to Prevent Gun Violence (“Giffords Law

Center”) is a non-profit policy organization dedicated to researching, writing, enacting, and

defending laws and programs proven to effectively reduce gun violence. The organization was

founded more than a quarter-century ago following a gun massacre at a San Francisco law firm

and was renamed Giffords Law Center in October 2017 after joining forces with the gun-safety

organization founded by former Congresswoman Gabrielle Giffords. Today, Giffords Law Center

provides free assistance and expertise to lawmakers, advocates, legal professionals, law

enforcement officials, and citizens who seek to improve the safety of their communities. Giffords

Law Center has provided informed analysis as an amicus in many firearm-related cases, including

in Hirschfeld v. Bureau of Alcohol, Tobacco, Firearms & Explosives, 417 F. Supp. 3d 747 (W.D.

Va. Oct. 4, 2019), District of Columbia v. Heller, 554 U.S. 570 (2008), McDonald v. City of

Chicago, 561 U.S. 742 (2010), Ass’n N.J. Rifle & Pistol Clubs v. AG N.J., 910 F.3d 106 (3d Cir.

2018), and Drummond v. Robinson Township, Case No. 20-1722 (3d Cir. amicus brief filed Aug.

13, 2020).1

               Amicus curiae CeaseFire Pennsylvania Education Fund (“CeaseFirePA”) is a

statewide organization working with mayors, police chiefs, faith leaders, community

organizations, and individual Pennsylvanians to take a stand against gun violence in Pennsylvania.




1
        Several courts have cited research and information from Giffords Law Center’s amicus
briefs in Second Amendment rulings. E.g., Hirschfeld, 417 F. Supp. 3d at 754, 759; Ass’n of N.J.
Rifle & Pistol Clubs v. AG N.J., 910 F.3d 106, 121-22 (3d Cir. 2018); Md. Shall Issue v. Hogan,
353 F. Supp. 3d 400, 403-05 (D. Md. 2018); Stimmel v. Sessions, 879 F.3d 198, 204, 208, 210 (6th
Cir. 2018); Peruta v. Cty. of San Diego, 824 F.3d 919, 943 (9th Cir. 2016) (en banc) (Graber, J.,
concurring). Giffords Law Center filed the last two briefs under its former name, the Law Center
to Prevent Gun Violence.
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Through outreach, education, coalition building, and advocacy, CeaseFirePA works to reduce gun

violence in Pennsylvania communities, stop the flow of illegal guns onto Pennsylvania streets, and

keep guns out of the hands of people who should not have them.                 CeaseFirePA teaches

Pennsylvanians that together they can raise their voices for change.             CeaseFirePA holds

educational programs to demystify the citizen activism process and teach the basics of advocacy.

CeaseFirePA empowers partners and supporters to share their opinions and stories and make their

voices heard on the issues of gun violence and gun violence prevention.

                INTRODUCTION AND SUMMARY OF THE ARGUMENT2

               The Supreme Court held in District of Columbia v. Heller, 554 U.S. 570 (2008),

that the Second Amendment guarantees an individual constitutional right to keep and bear arms.

But the right announced in Heller is not boundless. Far from it. See id. at 626 (Second Amendment

does not guarantee “a right to keep and carry any weapon whatsoever in any manner whatsoever

and for whatever purpose”). Under Heller, the Second Amendment protects the right of certain

citizens—those who are “responsible” and “law-abiding”—to use certain types of firearms in self-

defense in their homes. Id. at 635. In addition to guaranteeing that individual right, the Second

Amendment also enshrined the extensive authority of state and local governments to regulate

firearm purchase, possession and use, including by banning certain categories of people from

possessing firearms, and by regulating the carrying of firearms in public spaces. See, e.g., id. at

626 (Second Amendment compatible with “longstanding prohibitions on the possession of

firearms by felons and the mentally ill”); id. (“[T]he majority of the 19th-century courts to consider



2
       Amici submit this brief in support of Defendant’s Response to Plaintiffs’ Motion for
Preliminary Injunction (ECF No. 25). No counsel for a party authored this brief in whole or in
part. No person other than amici or their counsel contributed money to fund this brief’s preparation
or submission.



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the question held that prohibitions on carrying concealed weapons were lawful under the Second

Amendment or state analogues.”); Moore v. Madigan, 702 F.3d 933, 940-42 (7th Cir. 2012)

(striking down total prohibition on public gun carry, but concluding that state may still restrict

public gun carry, including through licensing).

               The regulations challenged in this case fall cleanly within the ambit of permissible

firearm restrictions on which Heller casts no doubt. Plaintiffs—three Pennsylvania residents under

the age of 21 and two national gun advocacy organizations—challenge three Pennsylvania laws,

18 Pa. C.S. §§ 6106, 6107 and 6109 (together, the “Challenged Laws”), which they contend

impermissibly infringe on their Second Amendment rights. This is so, according to Plaintiffs,

because the Challenged Laws prohibit anyone under the age of 21 from “carrying loaded, operable

firearms outside their homes (or places of business)” during an active “ongoing ‘state of

emergency.’”3 (Brief in Support of Plaintiffs’ Motion for Preliminary Injunction (“Pls.’ Br.”),

ECF No. 11-8 at 1.)

               Nothing in the Second Amendment prohibits that restriction. In fact, a growing

number of courts have held that the Second Amendment does not extend to minors under the age

of 21 at all. Nat’l Rifle Ass’n of Am., Inc. v. Bureau of Alcohol, Tobacco, Firearms, & Explosives,

700 F.3d 185, 203-04, 211 (5th Cir. 2012); Hirschfeld v. Bureau of Alcohol, Tobacco, Firearms

& Explosives, 417 F. Supp. 3d 747, 755-56 (W.D. Va. 2019); Mitchell v. Atkins, 2020 WL




3
        Section 6106 requires a license for concealed carry of firearms in public (subject to more
than a dozen exceptions including, among others, for law enforcement officers, members of the
military, and hunters). Under section 6109, a concealed carry license is not available to minors
under the age of 21. And, although minors ordinarily are permitted to openly carry firearms in
public, section 6107 prohibits such open carry in the event the governor has declared a state of
emergency (again, with some exceptions).




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5106723, at *5 (W.D. Wash. Aug. 31, 2020). And numerous courts, including the Third Circuit,

have upheld various restrictions on the public carry of firearms as presumptively valid under Heller

and McDonald.4 See, e.g., Drake v. Filko, 724 F.3d 426, 433 (3d Cir. 2013) (New Jersey regulation

conditioning concealed carry permits on showing of “justifiable need” “fits comfortably within the

longstanding tradition of regulating the public carrying of weapons for self-defense”); Peterson v.

Martinez, 707 F.3d 1197, 1201 (10th Cir. 2013) (concealed carry regulations fall outside Second

Amendment protection in light of “our nation’s extensive practice” of such restrictions); Peruta v.

County of San Diego, 824 F.3d 919, 942 (9th Cir. 2016) (en banc) (concluding based on historical

analysis that “the Second Amendment right to keep and bear arms does not include, in any degree,

the right of a member of the general public to carry concealed firearms in public”); Berron v. Ill.

Concealed Carry Licensing Review Bd., 825 F.3d 843, 847 (7th Cir. 2016) (upholding concealed

carry licensing law because “[i]f the state may set substantive requirements for ownership, which

Heller says it may, then it may use a licensing system to enforce them”). This Court therefore can

and should uphold the Challenged Laws at step one of its Second Amendment inquiry for the

reasons set forth in Defendant’s brief. (See Response to Plaintiffs’ Motion for Preliminary

Injunction (“Def.’s Opp. Br.”), ECF No. 25 at 6-21.)

               Out of an abundance of caution or an acknowledgment of the critical importance of

Second Amendment issues, the Court may nevertheless proceed to evaluate the Challenged Laws

under means-end scrutiny. See Drake, 724 F.3d at 434-35. Should the Court do so, Amici write




4
        The Third Circuit has interpreted Heller’s reference to “‘presumptively lawful’ regulatory
measures” as “exceptions to the Second Amendment guarantee.” See Drake v. Filko, 724 F.3d
426, 432 (3d Cir. 2013) (quoting United States v. Marzzarella, 614 F.3d 85, 91 (3d Cir. 2010));
see also Binderup v. Att’y Gen., 836 F.3d 336, 343 (3d Cir. 2016) (en banc) (lead opinion) (citing
Marzzarella, 614 F.3d at 91).



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separately to present empirical research that confirms the more than reasonable fit between the

Challenged Laws’ restrictions and Pennsylvania’s interest in protecting the safety of its citizens.

Research in the fields of neuro- and social science demonstrate that young people aged 18 to 20

tend to be more impulsive than older adults because their brains are still developing. Individuals

in this age group also account for a disproportionate share of homicides and violent crimes. And

because states of emergency are often characterized by widespread uncertainty, strained resources,

and even violence, the Pennsylvania Legislature enacted a calibrated, effective solution to address

the heightened risk of public carry presented by a population already prone to impulsivity and

short-term thinking. The Challenged Laws easily pass constitutional muster.

                                           ARGUMENT

                Like every federal Court of Appeals to consider the issue,5 the Third Circuit uses a

two-step framework to analyze Second Amendment claims. First, a court must “ask whether the

challenged law imposes a burden on conduct falling within the scope of the Second Amendment’s

guarantee.” United States v. Marzzarella, 614 F.3d 85, 89 (3d Cir. 2010). “If it does not, [the

court’s] inquiry is complete” and the Second Amendment is unbothered. Id. Second, and only if

it finds that the law does impose such a burden, the court must “evaluate the law under some form

of means-end scrutiny. If the law passes muster under that standard, it is constitutional. If it fails,

it is invalid.” Id.



5
        Gould v. Morgan, 907 F.3d 659, 668-69 (1st Cir. 2018); N.Y. State Rifle & Pistol Ass’n v.
Cuomo, 804 F.3d 242, 254 (2d Cir. 2015); United States v. Chester, 628 F.3d 673, 680 (4th Cir.
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                The Challenged Laws easily pass muster at both steps. Defendant has correctly

explained that history and tradition show that state and federal governments have imposed

restrictions on the ability of 18-to-20-year-olds to access firearms since the founding of this nation,

as well as longstanding regulations on transport and public carry of firearms outside the home.

(See ECF No. 25 (Def.’s Opp. Br.) at 7-19; Brief in Support of Defendant’s Motion to Dismiss

Complaint (“Mot. to Dismiss Br.”), ECF No. 24 at 2-5, 15-24.)6 The Challenged Laws are

therefore constitutional at the threshold inquiry, and the Court need not proceed further. Amici do

not repeat those arguments here.

                Should the Court proceed to step two, then at most, intermediate scrutiny applies

because the Challenged Laws do not burden the core of the Second Amendment. (See ECF No.

25 (Def.’s Opp. Br.) at 7-11, 15, 20-21; see also ECF No. 24 (Mot. to Dismiss Br.) at 24-25.)

Social science and neuroscience data demonstrate that the Challenged Laws survive such scrutiny:



6
          Furthermore, it is beyond debate that legislatures may draw minimum age limits for various
activities, including constitutionally protected ones. See, e.g., U.S. CONST. art. I, § 2, cl. 2 (“No
Person shall be a Representative who shall not have attained to the Age of twenty five Years . . . .”);
id., art. I, § 3, cl. 3 (“No Person shall be a Senator who shall not have attained to the Age of thirty
Years . . . .”); id., art. II, § 1, cl. 5 (no person shall be eligible for the office of President “who shall
not have attained to the Age of thirty five Years”); see also 18 Pa. C.S. § 6308(a) (“A person
commits a summary offense if he, being less than 21 years of age, attempts to purchase, purchases,
consumes, possesses or knowingly and intentionally transports any liquor or malt or brewed
beverages . . . .”); South Dakota v. Dole, 483 U.S. 203, 206 (1987) (upholding Congress’s authority
“to encourage uniformity in the States’ drinking ages” as 21 years of age); Gabree v. King, 614
F.2d 1, 2 (1st Cir. 1980) (recognizing that “eighteen to twenty-one year olds have historically been
denied full rights of adulthood while shouldering such burdens of citizenship as military service”
and rejecting equal protection challenge to state law raising drinking age to 20); United States v.
Olson, 473 F.2d 686, 687-88 (8th Cir. 1973) (upholding prior version of federal law setting 21 as
the age for jury service after Congress amended law to lower minimum age for jury service to 18);
Jacqueline Howard, The US Officially Raises the Tobacco Buying Age to 21, CNN (Dec. 27, 2019),
https://www.cnn.com/2019/12/27/health/us-tobacco-age-21-trnd/index.html (“President Donald
Trump signed the new minimum age into law . . . . [T]he FDA noted on its website that ‘it is now
illegal for a retailer to sell any tobacco product—including cigarettes, cigars and e-cigarettes—to
anyone under 21.’”).



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     the laws’ restrictions are more than substantially related to Pennsylvania’s paramount interest in

     ensuring public safety.

I.          AT MOST, THE CHALLENGED LAWS ARE SUBJECT TO INTERMEDIATE
            SCRUTINY.

                    To determine what level of heightened scrutiny to apply in a Second Amendment

     challenge, courts consider whether the restriction at issue burdens the “core” right guaranteed by

     the Second Amendment—the “right of law-abiding, responsible citizens to use arms in defense of

     hearth and home.” Heller, 554 U.S. at 635 (emphasis added); see also Marzzarella, 614 F.3d at

     92 (core right protected by Second Amendment is “the right of law abiding citizens to possess non-

     dangerous weapons for self-defense in the home”).         Unless a restriction burdens that core

     protection, intermediate scrutiny applies. See, e.g., Nat’l Ass’n of N.J. Rifle & Pistol Clubs, Inc.

     v. Att’y Gen. of N.J., 910 F.3d 106, 118-19 (3d Cir. 2018) (applying intermediate scrutiny to ban

     on large-capacity magazines); Drake, 724 F.3d at 429-30, 435-36 (applying intermediate scrutiny

     to New Jersey requirement that public carry license applicants “demonstrate a ‘justifiable need’ to

     publicly carry a handgun for self-defense”); Marzzarella, 614 F.3d at 97 (applying intermediate

     scrutiny to federal statute criminalizing possession of handguns with obliterated serial numbers).

                    This case is no exception: assuming arguendo that the Challenged Laws burden

     conduct protected by the Second Amendment at all, that conduct is far outside the “core” Second

     Amendment protection. First, the Challenged Laws in no way limit or prevent 18-to-20-year-olds

     from possessing or using firearms in their homes, and the Third Circuit has previously held that

     intermediate scrutiny applies to laws restricting only the public carry of firearms. Drake, 724 F.3d

     at 436 (“[I]f the Second Amendment protects the right to carry a handgun outside the home for

     self-defense at all, that right is not part of the core of the Amendment.” (internal quotation marks

     omitted)); see also Nat’l Rifle Ass’n of Am., Inc. v. McCraw, 719 F.3d 338, 348 (5th Cir. 2013)



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(applying intermediate scrutiny to uphold Texas law prohibiting 18-to-20-year olds from carrying

handguns in public because “the law does not prevent 18-20-year-olds from possessing and using

guns in defense of hearth and home”).

               Second, publicly carried firearms are not commonly used for self-defense and there

is therefore little evidence that this form of gun carry strikes at the “core” of the Second

Amendment. Data from 2007 to 2011 collected by the U.S. Bureau of Justice Statistics reveals

that of 9,788 crime incidents in which a victim was present at the incident and the incident occurred

away from the victim’s home, the victim attacked or threatened the offender with a gun in just

0.9% of these incidents.7 The rarity of public defensive use of firearms today—when public

concealed carry is relatively more widespread8—is a reflection of sound historical practices and

the common-law regulation of public self-defense. The defensive use of force outside the home

has traditionally been more closely regulated than home defense, including because armed defense

in public poses heightened risks—of shooting the wrong person, of injuring innocent bystanders,

of creating confusion in a crowded space, of escalating otherwise less serious conflicts—that home

defense does not.9 See generally Eric Ruben, An Unstable Core: Self-Defense and the Second




7
       David Hemenway & Sara Solnick, The Epidemiology of Self-Defense Gun Use: Evidence
from the National Crime Victimization Surveys 2007–2011, 79 PREVENTIVE MED. 22, 23 (2015).
8
        Heller, 554 U.S. at 626 (acknowledging the 19th century practice of states prohibiting the
carry of concealed weapons entirely).
9
        In fact, one study of gun carriers in Philadelphia found that that individuals carrying a
firearm were 4.46 times more likely to be shot in an assault than those not carrying a gun and 4.23
times more likely to be fatally shot. Charles Branas et al., Investigating the Link Between Gun
Possession and Gun Assault, 99 AM. J. PUB. HEALTH 2034, 2037 (2009) (positing that “[a] gun
may falsely empower its possessor to overreact, instigating and losing otherwise tractable conflicts
with similarly armed persons”); see also infra pp. 18-21 (describing robust body of research
linking lax public carry laws to an increase in homicides and violent crime).



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Amendment, 108 CALIF. L. R. 63, 78 (2020) (self-defense law “has traditionally extended a broader

right to use lethal defensive force in the home than in public”); Darrell A.H. Miller, Self-Defense,

Defense of Others, and the State, 80 L. & CONTEMP. PROBS. 85, 89 (2017) (the Second Amendment

does not change the fact that traditional self-defense law “tilt[s] in favor of the preservation of

human life”). Since governments may permissibly cabin the riskier defensive use of lethal force

outside the home, public gun carry falls closer to the margins of the Second Amendment rather

than its core.

                 Third, the Challenged Laws apply for a limited duration to a limited group of

people—minors under the age of 21—who historically have not fallen within the Second

Amendment’s core protections. (See ECF No. 25 (Def.’s Opp. Br.) at 12-19.) “The temporary

nature of the burden reduces its severity” because “[a]ny 18-to-20-year-old subject to the

[restriction] will soon grow up and out of its reach.” Nat’l Rifle Ass’n, 700 F.3d at 207; see also

McCraw, 719 F.3d at 348 (applying intermediate scrutiny where minimum-age qualification on

public carry “has only a temporary effect that ends as soon as the person turns 21”); Stiles v. Blunt,

912 F.2d 260, 265 (8th Cir. 1990) (“[I]t is particularly appropriate to apply a deferential standard

of review to age requirements affecting young people because such requirements do not result in

an absolute prohibition but merely postpone the opportunity to engage in the conduct at issue.”).

Any burden imposed by the Challenged Laws is also temporary in a second respect: the burden

endures only so long as a government-declared state of emergency is in effect.10 See, e.g.,




10
        Plaintiffs concede that Pennsylvania “ordinarily freely allows 18-to-20-year-olds to carry
firearms in public openly . . . without even requiring them to obtain a license” and that it is “only
because of the currently active ‘states of emergency’ . . . that Plaintiffs, and others in their age
group, are prohibited from exercising their Second Amendment right to bear arms.” (ECF No. 11-
8 (Pls.’ Br.) at 2 (emphasis in original).)



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      McDougall v. County of Ventura California, 2020 WL 2078246, at *2 (C.D. Cal. Apr. 1, 2020)

      (applying intermediate scrutiny to evaluate county closure of gun stores pursuant to COVID-19

      stay-at-home order because the order “does not specifically target handgun ownership, does not

      prohibit the ownership of a handgun outright, and is temporary”).

II.          SOCIAL SCIENCE AND NEUROSCIENCE ESTABLISH THAT THE
             CHALLENGED LAWS EASILY SURVIVE INTERMEDIATE SCRUTINY.

                     In the Second Amendment context, a court must uphold a law under intermediate

      scrutiny if there is a “reasonable fit” between the challenged law and a “significant, substantial, or

      important” government interest “such that the law does not burden more conduct than is reasonably

      necessary.” Drake, 724 F.3d at 436. In assessing reasonable fit, courts in this Circuit routinely

      consider empirical evidence such as social science and crime statistics. See, e.g., Ass’n of N.J.

      Rifle & Pistol Clubs, 910 F.3d at 120 n.24 (“[E]mpirical evidence may be useful to examine

      whether a law furthers a significant government interest . . . .”); Williams v. Barr, 379 F. Supp. 3d

      360, 376-78 (E.D. Pa. 2019) (finding that “statistics demonstrate a reasonable fit between

      Williams’ disarmament and the important government interest of preventing armed mayhem”).

      Importantly, a court evaluating a law’s constitutionality “must accord substantial deference to the

      predictive judgments of [the legislature]” and is “not at liberty to substitute [its] judgment for the

      reasonable conclusion of a legislative body.” Turner Broad. Sys., Inc. v. FCC, 520 U.S. 180, 195,

      212 (1997) (quoting Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 665 (1994)); see also Drake,

      724 F.3d at 436-37.

             A.      Public Carry of Firearms by Eighteen-to-Twenty-Year-Olds Is
                     Disproportionately Risky, Especially in States of Emergency.

                     Neuroscience and social science research confirm that 18-to-20-year-olds with

      unencumbered access to firearms pose a substantial risk to themselves and others. The




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Pennsylvania Legislature crafted a limited solution to address that risk in public places in times of

emergency. Courts have relied on this research in rejecting similar challenges, including the Fifth

and Seventh Circuits11 and multiple district courts.12

               1.      Eighteen-to-Twenty-Year-Olds Are Generally More Impulsive than Older
                       Cohorts.

               The scientific literature shows that the human brain does not finish developing until

the mid-to-late twenties.13 The last part of the brain to mature is the prefrontal cortex, which is

responsible for impulse control, judgment, and planning.14 The prefrontal cortex matures well

after the limbic system, which controls basic emotions like fear, anger, and pleasure. As a result,

people in their late teens and early twenties tend to have lower self-control and to make more

impulsive decisions.15 Eighteen-to-twenty-year-olds are prone to risk-taking, and they deprioritize




11
       See Nat’l Rifle Ass’n, 700 F.3d at 210 & n.21; Horsley v. Trame, 808 F.3d 1126, 1133 (7th
Cir. 2015).
12
      See Jones v. Becerra, 2020 WL 6449198, at *8 (S.D. Cal. Nov. 3, 2020); Mitchell v. Atkins,
2020 WL 5106723, at *6-7 (W.D. Wash. Aug. 31, 2020); Hirschfeld, 417 F. Supp. 3d at 759.
13
        Adam Winkler et al., There’s a Simple Way to Reduce Gun Violence: Raise the Gun Age,
WASH. POST (Jan. 6, 2016), https://www.washingtonpost.com/posteverything/wp/2016/01/06/
there-a-simple-way-to-fight-mass-shootings-raise-the-gun-age/?utm_term=.e8adc7e6c1da (“The
scientific literature over the past two decades has demonstrated repeatedly that the brain does not
fully mature until the mid-to-late 20s.”).
14
        Id.; see also Ex. 1, Mariam Arain et al., Maturation of the Adolescent Brain, 9
NEUROPSYCHIATRIC DISEASE & TREATMENT 449, 453, 456 (2013) (“Behavioral control requires a
great involvement of cognitive and executive functions. These functions are localized in the
prefrontal cortex, which matures independent of puberty and continues to evolve up until 24 years
of age.”).
15
        Ex. 1, Arain, supra note 14, at 453 (“[S]tudies involv[ing] comparing a teen brain to an
adult brain determined that adolescents’ prefrontal cortices are used less often during interpersonal
interactions and decision making than their adult counterparts . . . provid[ing] a partial explanation



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long-term outcomes. See Nat’l Rifle Ass’n, 700 F.3d at 210 n.21 (“[M]odern scientific research

supports the commonsense notion that 18-to-20-year-olds tend to be more impulsive than young

adults aged 21 and over.”); id. (quoting submission from the American Medical Association: “The

brain’s frontal lobes are still structurally immature well into late adolescence, and the prefrontal

cortex is ‘one of the last brain regions to mature.’ This, in turn, means that ‘response inhibition,

emotional regulation, planning and organization . . . continue to develop between adolescence and

young adulthood.’” (omission in original)); Horsley, 808 F.3d at 1133 (“The evidence now is

strong that the brain does not cease to mature until the early 20s in those relevant parts that govern

impulsivity, judgment, planning for the future, foresight of consequences, and other characteristics

that make people morally culpable.” (quotation omitted)).

               In addition, minors are uniquely prone to negative emotional states.16 Adolescents’

responses to “frequent” negative states “tend to be more intense, variable and subject to extremes

relative to adults.”17 Scientists have reasoned that “[f]eeling sad, depressed, or hopeless may be

associated with the heightened rates of affective disorders, attempted and completed suicide, and

addiction also observed during adolescence.”18 Minors are also more likely to act on negative




for certain characteristics of adolescents and adolescent behaviors, such as quickness to anger,
intense mood swings, and making decisions on the basis of ‘gut’ feelings.”).
16
       Ex. 2, Leah H. Somerville et al., A Time of Change: Behavioral and Neural Correlates of
Adolescent Sensitivity to Appetitive and Aversive Environmental Cues, 72 BRAIN & COGNITION
124, 125 (2010).
17
       Id.
18
        Id.; see also Richard A. Friedman, Why Are Young Americans Killing Themselves? Suicide
Is Now Their Second-Leading Cause of Death, N.Y. TIMES (Jan. 6, 2020),
https://www.nytimes.com/2020/01/06/opinion/suicide-young-people.html?action=click&module
=Opinion&pgtype=Homepage (“While young people are generally physically healthy, they are



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emotions like stress or rage, because their limbic systems have matured while their cerebral

cortexes (i.e., impulse control centers) are still developing.19

               Because their brains are still developing, 18-to-20-year-olds are at a higher risk of

violence when they have unfettered access to firearms.20 Indeed, educational institutions serving

this age group—such as colleges and military academies, which arguably admit only the most

responsible young adults—recognize this risk. See, e.g., U.S. Military Academy Regulation 190-

3 at § II.1-6(b)(1) (“No pistols or handguns may be registered or carried by anyone under the age

of twenty-one (21) to include Cadets.”) (on file with counsel).21 Neuroscience shows there is a

reasonable fit between the Pennsylvania Legislature’s interest in public safety and its decision to

limit 18-to-20-year olds’ ability to carry and transport firearms in public places during times of

emergency.




psychiatrically vulnerable. Three-quarters of all the mental illness that we see in adults has already
occurred by age 25.”).
19
       Ex. 1, Arain, supra note 14, at 458 (“[T]he adolescent brain is structurally and functionally
vulnerable to environmental stress.”).
20
        See, e.g., Michael Dreyfuss et al., Teens Impulsively React Rather Than Retreat from
Threat, 36 DEVELOPMENTAL NEUROSCIENCE 220, 220 (2014) (“Adolescents commit more crimes
per capita than children or adults in the USA and in nearly all industrialized cultures. Their
proclivity toward . . . risk taking has been suggested to underlie the inflection in criminal activity
observed during this time.”).
21
       See also Matthew Miller et al., Guns and Gun Threats at College, 51 J. AM. COLL. HEALTH
57, 64 (2002) (“[O]ur findings also suggest that students who report having guns at college
disproportionately engage in behaviors that put themselves and others at risk for injury.”).




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                2.      Eighteen-to-Twenty-Year-Olds Are Disproportionately Likely to Commit
                        and be Victimized by Violent Gun Crimes, Including Homicide.

                Eighteen-to-twenty-year-olds account for a disproportionate share of violent crimes

and homicides—both as victims and as perpetrators. The statistics are stark:

               Arrests for homicide, rape, and robbery are higher among 18-to-20-year-olds than
                older adults.22

               Though 18-to-20-year-olds make up less than 5% of the population, they account
                for more than 15% of homicide and manslaughter arrests.23 Moreover, FBI data
                suggest that this age group accounts for 17% of known homicide offenders.24

               This general pattern has persisted over time. The following chart, showing
                homicide offending rate by age in 2009, vividly illustrates the disproportionate
                share of homicides committed by minors that year:25



22
         U.S. Department of Justice, Crime in the United States, Arrests, by Age, 2019, at Table 38,
https://ucr.fbi.gov/crime-in-the-u.s/2019/crime-in-the-u.s.-2019/topic-pages/tables/table-38.
Plaintiffs argue that such statistics fail to support a “public-safety justification for this ban” because
18-to-20-year-olds as a group are not arrested more frequently for aggregate violent crimes than
21-year-olds. (ECF No. 11-8 (Pls.’ Br.) at 1, 25.) To be sure, the Pennsylvania Legislature could
have enacted an even more expansive restriction extending to young adults over 20, and might
have been justified in doing so. They opted, however, for a narrower restriction that burdens fewer
citizens while still targeting an age-demographic that is disproportionately reflected in the crime
statistics. “[T]he fact [that] the line might have been drawn differently at some points is a matter
for legislative, rather than judicial, consideration.” Mabey Bridge & Shore, Inc. v. Schoch, 666
F.3d 862, 876 (3d Cir. 2012) (quoting FCC v. Beach Commc’ns, Inc., 508 U.S. 307, 315-16
(1993)).
23
        U.S. Department of Justice, Crime in the United States, Arrests, by Age, 2019, at Table 38,
https://ucr.fbi.gov/crime-in-the-u.s/2019/crime-in-the-u.s.-2019/topic-pages/tables/table-38; U.S.
Census Bureau, Annual Estimates of the Resident Population by Single Year of Age and Sex for
the United States: April 1, 2010 to July 1, 2019, National Population by Characteristics: 2010-
2019, https://www.census.gov/data/datasets/time-series/demo/popest/2010s-national-detail.html.
24
       Calculated using data from the FBI’s Supplementary Homicide Reports and U.S. Census
Bureau. Uniform Crime Reporting Program: Supplementary Homicide Reports (SHR),
Washington, DC: Department of Justice, Federal Bureau of Investigation; U.S. Census Bureau
Population Estimates.
25
      Ex. 3, Daniel W. Webster et al., The Case for Gun Policy Reforms in America, JOHNS
HOPKINS CTR. FOR GUN POLICY & RESEARCH 1, 5 (2012), https://www.jhsph.edu/research/centers-



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              “Firearm homicides and violent crimes disproportionately involve individuals
               under age 21, both as perpetrators and as victims.”26

These crime statistics, which, as explained supra, have a neuroscientific explanation, underscore

how the Challenged Laws reasonably fit the Legislature’s goal of promoting public safety.

               3.     States of Emergency Are Times of Uncertainty and Instability in which the
                      Risk of Firearm Violence Is Especially High.

               Social science further supports the Legislature’s reasonable and balanced policy

determination to impose stricter restrictions on public carry during emergencies. States of

emergency can take various forms, from natural disasters, to violent civil disturbances, to medical

crises. What these exigent circumstances have in common is that they are characterized by mass

uncertainty and fear that threaten public safety. Through the enactment of the Challenged Laws

decades ago, the Pennsylvania Legislature struck a careful balance between preserving the ability




and-institutes/johns-hopkins-center-for-gun-policy-and-research/publications/
WhitePaper020514_CaseforGunPolicyReforms.pdf.
26
        RAND Corporation, The Science of Gun Policy: A Critical Synthesis of Research Evidence
on the Effects of Gun Policies in the United States 1, 145 (2018); see also People v. Fields, 24
N.E.3d 326, 344 (Ill. App. Ct. 2014) (“We also note that the 18-to-20-year-old age group is more
likely to be directly interacting with and, thus, endangering juveniles under 18 years of age.”).



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of citizens to bear arms even in such volatile environments—indeed, individuals over 21 may

readily obtain a permit to open carry even in states of emergency, see §§ 6107, 6109—while

imposing temporary restrictions on a limited subgroup of the population to meet the heightened

risk to public safety.

                To be sure, the risk of firearm violence may be more acute during some

emergencies than others. But the Constitution does not require the Legislature to divine every

possible exigent circumstance that might befall Pennsylvania and devise a different legal regime

for each. Moreover, there are documented risks attendant to carrying guns in public at any time,27

and Pennsylvania’s decision to address these risks during emergencies that tax its public health

resources already reflects nuanced tailoring of legislation to the risks at hand and the emergency

being addressed. Intermediate scrutiny does not require the Legislature’s solution to be the “least

restrictive means of serving the interest,” and requires only a “reasonable,” not “perfect,” fit.

Marzzarella, 614 F.3d at 98. The current COVID-19 pandemic and opioid epidemic—states of

emergency in which the threat of firearm violence may seem more attenuated than others—

illustrate the wisdom of the Legislature’s solution.

                Gun violence can spike during widespread emergencies such as a pandemic or a

drug epidemic. For example, researchers found “a significant increase in firearm violence in the

United States associated with the coronavirus pandemic-related surge in firearm purchasing”

which accounted for an estimated 776 fatal and nonfatal injuries from March through May 2020.28




27
        See Branas, supra note 9.
28
        Julia P. Schleimer et al., Firearm Purchasing and Firearm Violence in the First Months of
the Coronavirus Pandemic in the United States (July 11, 2020), available at
https://doi.org/10.1101/2020.07.02.20145508.



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Aggravating the severity of this upswing is the fact that individuals injured by firearms may be

more vulnerable to death during an emergency because of the already-existing strain on the

healthcare system. A recent study found that “as new COVID-19 positive cases and current

hospitalizations increase, the number of deaths per day from firearms also increases. At the peak

of New York state’s epidemic . . . COVID-19 cases and hospitalizations produced . . . an additional

3.5 deaths per day from firearms, relative to what might have been the case at the same time of

year absent the epidemic.”29 Likewise, the opioid epidemic carries an increased risk of gun

violence: a study found that 31.3% of opioid users surveyed in an inpatient program carried a gun,

45.1% had been threatened with a gun, and 13.8% had shot another person.30 And increased

hospitalization for opioid overdoses is also known to strain the healthcare system in ways that can

compromise care to victims of gun injury.31

               It is particularly urgent for Pennsylvania to reduce gun violence during the current

pandemic because the state faces a shortage of medical resources. Indeed, Pennsylvania’s top

health official, Dr. Rachel Levine, publicly worried about modeling projecting that the state would




29
       Tara McKay et al., Effects of Statewide Coronavirus Public Health Measures and State
Gun Laws on American Gun Violence, SSRN Working Paper No. 3680050, at 12-13 (Aug. 24,
2020), available at https://papers.ssrn.com/sol3/papers.cfm?abstract_id=3680050.
30
      See, e.g., Michael D. Stein et al., Loaded: Gun Involvement Among Opioid Users, 187
DRUG ALCOHOL DEPEND. 205, 205-211 (2018).
31
         See, e.g., Nicoleta Stoicea et al., Current Perspectives on the Opioid Crisis in the US
Healthcare         System,      MEDICINE        (BALTIMORE)        (2019),      available      at
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6531094/ (“Opioid-related overdose is a leading
cause of unintentional injury and thus adds significant financial and resource burden to hospital
systems.”).




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run out of intensive care beds in October. “More than 85% of the state’s ICU beds are occupied

amid an enormous statewide spike in COVID-19 hospitalizations this fall.”32

               As the pandemic grimly illustrates, in an emergency, Pennsylvania may need to

devote its medical bandwidth to those directly affected by it and, as a corollary, may need to take

measured steps to reduce the likelihood that people unaffected by the emergency will require

medical attention during this time period. Because 18-to-20-year-olds are more impulsive and

disproportionately likely to commit violent crime using firearms—and gun violence often spikes

during emergencies—restricting this group’s public carry during an emergency reasonably fits the

Pennsylvania Legislature’s interest in promoting public safety.

       B.      Research Establishes that Restrictions Like the Challenged Laws Are
               Effective in Reducing Firearm Violence.

               Studies showing the efficacy of firearm restrictions (i) for public carry and/or (ii)

with a minimum-age component illustrate the reasonableness of the Legislature’s decision to target

public carry by 18-to-20-year-olds specifically.

                   1. Strong Public Carry Laws Reduce Homicide, Other Violent Crime, and
                      Gun Theft.

               A substantial body of social science evidence shows that restrictions on public carry

reduce crime, including violent crime, confirming that the Challenged Laws are a calibrated and

effective solution to the public safety threat that the Pennsylvania Legislature sought to address.

One 2019 study, for example, examined 33 states that between 1981 and 2007 adopted right-to-




32
        Michael Rubinkam, Pennsylvania Hospital Beds Filling up Amid Virus Surge, U.S. NEWS
AND      WORLD       REPORT      (Dec.    3,    2020),     https://www.usnews.com/news/best-
states/pennsylvania/articles/2020-12-03/pennsylvania-capitol-closing-to-public-amid-virus-
surge.




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carry laws—i.e., laws that require officials to issue handgun carry permits to anyone who meets

certain minimal statutory requirements (such as, no felony conviction)—and concluded that “the

net effect of state adoption of [right-to-carry] laws is a substantial increase in violent crime.”33

After controlling for factors “that might be expected to influence crime,” including incarceration

levels, poverty, and unemployment, the study found that the passage of lax public carry laws

increased violent crime rates by around 14 percent compared to what the rates otherwise would

have been.34 Although there was a nationwide decrease in crime between 1977 and 2014, the nine

states that never adopted right-to-carry laws experienced a 42.3 percent decrease in crime during

that forty-year period whereas those states that did adopt right-to-carry laws experienced a mere

4.3 percent reduction.35 Thus, states with more restrictive public carry laws experienced a decline

in violent crime that was nearly ten times greater than the decline in states with lax public carry

laws.36




33
       Ex. 4, John Donohue et al., Right-to-Carry Laws and Violent Crime: A Comprehensive
Assessment Using Panel Data and a State-Level Synthetic Control Analysis, 16 J. EMPIRICAL
LEGAL STUD. 198, 200, 240 (2019).
34
          Id. at 215-16, 232.
35
          Id. at 213-14 & fig. 1.
36
        See also Marjorie McElroy & Peichun Wang, Seemingly Inextricable Dynamic
Differences: The Case of Concealed Gun Permit, Violent Crime and State Panel Data 1, 31-32
(June 24, 2017) (concluding that had states with lax “shall-issue” public carry laws not
implemented such laws, “total violent crimes” would be reduced by “about one third” from 1980
to 2011); Paul Zimmerman, The Deterrence of Crime through Private Security Efforts: Theory
and Evidence, 37 INT’L REV. L. & ECON. 66, 71-72 (2014) (finding “statistically significant”
increase in “murder, robbery, assault, burglary, and larceny” in states that enacted lax “shall-issue”
public carry laws from 1999 to 2010).




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              Numerous studies also reveal a link between lax public carry laws and an increase

in homicides, specifically. For example:

             A 2017 study found that between 1991 and 2015, right-to-carry laws were
              associated with 6.5% higher total homicide rates, 8.6% higher firearm homicide
              rates, and 10.6% higher handgun homicide rates.37

             A 2019 study found that between 1990 and 2014, states that switched from a law
              that prohibits concealed carry of firearms to a law that requires officials to issue
              concealed carry permits to qualified applicants “experienced a 12.3% increase in
              gun-related murder rates and a 4.9% increase in overall murder rates when
              compared to other states.”38

             A 2018 study found that between 1984 and 2015, right-to-carry laws were
              associated with a 7% increase in firearm homicides in large, urban U.S. counties.39

             A 2019 study found that “[s]tates that had [a right-to-carry] law between 1992 and
              2017 experienced 29% greater rates of firearm [workplace homicides]” than those
              that did not, and that the 25 states that passed a right-to-carry law during that period,
              “on average, experienced 24% greater rates in firearm [workplace homicides]
              incidence after law implementation.”40




37
        Ex. 5, Michael Siegel et al., Easiness of Legal Access to Concealed Firearm Permits and
Homicide Rates in the United States, 107 AM. J. PUB. HEALTH 1923, 1923, 1927 (2017). This
result was corroborated in two subsequent studies employing different research methodologies.
See Michael Siegel et al., The Impact of State Firearm Laws on Homicide and Suicide Deaths in
the USA, 1991–2016: A Panel Study, 34 J. GEN. INTERN. MED. 2021, 2021-28 (2019); Anita
Knopov et al., The Impact of State Firearm Laws on Homicide Rates among Black and White
Populations in the United States, 1991– 2016, 44 HEALTH & SOCIAL WORK 232, 232-40 (2019).
38
      Ex. 6, Mark Gius, Using the Synthetic Control Method to Determine the Effects of
Concealed Carry Laws on State-Level Murder Rates, 57 INT’L REV. L. & ECON. 1, 8 (2019).
39
       Cassandra Crifasi et al., Association between Firearm Laws and Homicide in Urban
Counties, 95 J. URB. HEALTH 383, 386-87 (2018) (as modified by Correction to: Association
Between Firearm Laws and Homicide in Urban Counties, 95 J. URB. HEALTH 773, 773-76 (2018)).
40
       Mitchell Doucette et al., Right-to-Carry Laws and Firearm Workplace Homicides: A
Longitudinal Analysis (1992–2017), 109 AM. J. PUB. HEALTH 1747, 1751 (2019).




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And the correlation between crime and public carry does not stop with homicides and other violent

crimes. Research has also connected public carry to increased risk of gun thefts, contributing to

the estimated 200,000 to 500,000 guns that are stolen each year in the United States and often find

their way into the hands of young persons and those with criminal histories.41

                   As Plaintiffs’ constitutional challenge hinges on Pennsylvania’s public carry

restrictions during states of emergency, which have the incremental effect of banning 18-to-20-

year-olds from open carry while emergency circumstances are ongoing (ECF No. 11-8 (Pls.’ Br.)

at 2), it bears emphasizing that research suggests the presence of visible firearms may pose

particular risks. For example, a 2018 meta-analysis found evidence that “merely seeing a weapon

can increase aggressive thoughts, hostile appraisals, and aggressive behavior.”42

                   The body of research establishing a direct link between permissive public carry

regimes and crime (including homicide) suggests that the Challenged Laws, by placing limitations

on public carry for an age demographic that accounts for a disproportionate percentage of violent

crime, are likely a highly effective means of reducing crime. The efficacy of such laws underscores

the “reasonable fit” that exists between the Legislature’s interest in public safety and the solution

that it devised.




41
       David Hemenway et al., Whose Guns are Stolen? The Epidemiology of Gun Theft Victims,
4 INJURY EPIDEMIOLOGY 1, 1, 3 (2017) (people who carried a loaded handgun at least once in the
last month were over three times more likely to have a firearm stolen than other gun owners).
42
        Arlin Benjamin Jr. et al., Effects of Weapons on Aggressive Thoughts, Angry Feelings,
Hostile Appraisals, and Aggressive Behavior: A Meta-Analytic Review of the Weapons Effect
Literature, 22 PERSONALITY AND SOCIAL PSYCHOL. REV. 1, 13 (2018).




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               2.     Minimum-Age Restrictions Are Effective in Lessening Gun Violence.

               Studies have also found a connection between age restrictions like the Challenged

Laws and a decline in firearm-related adolescent deaths, especially suicides and unintentional

shootings.43 For instance, an August 2004 study found that state laws raising the minimum age

for handgun purchases to 21 were associated with a nine percent decline in firearm suicide rates

among 18-to-20-year-olds.44 Another study from 2015 found that, after Congress raised the

minimum age for handgun possession to 18 in 1994, youth suicide rates dropped by 1.2 per

100,000 persons—decreasing from approximately 2.1 suicides per 100,000 in 1994 to .9 suicides

per 100,000 in 2010.45 The decline in unintentional firearm death rates among youth was also

dramatic: in 1994, the rate of youth unintentional gun deaths was approximately 0.67 per 100,000

persons, but after the federal minimum-age law was enacted in 1994, the rate fell to approximately

.2 per 100,000 persons for a total decrease of 0.47 per 100,000 persons.46 Separately, a survey of


43
         The same concerns regarding minors’ heightened impulsiveness led to passage of laws in
all 50 states establishing 21 as the minimum legal age for alcoholic beverage consumption. Studies
confirm that these laws led to significant reductions in death from motor vehicle crashes involving
minor drivers. William DeJong & Jason Blanchette, Case Closed: Research Evidence on the
Positive Public Health Impact of the Age 21 Minimum Legal Drinking Age in the United States,
17 J. STUD. ON ALCOHOL & DRUGS 108, 113 (2014) (“Recent research on the age 21 [minimum
legal drinking age] has reinforced the position that the current law has served the nation well by
reducing alcohol-related traffic crashes.”).
44
       Daniel W. Webster et al., Association Between Youth-Focused Firearm Laws and Youth
Suicides, 292 JAMA 594, 598 (2004).
45
       Mark Gius, The Impact of Minimum Age and Child Access Prevention Laws on Firearm-
Related Youth Suicides and Unintentional Deaths, 52 THE SOC. SCI. J. 168, 173-74 (2015); see
also RAND Corporation, The Effects of Minimum Age Requirements (updated Apr. 22, 2020),
available at https://www.rand.org/research/gun-policy/analysis/minimum-age.html (concluding
minimum age laws may reduce firearm suicide).
46
       Gius, supra note 45, at 173-74.




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convicted gun offenders in 13 states found that a minimum legal age of 21 would have prohibited

17% of the offenders from obtaining firearms at the time of their crimes, a finding that

“underscore[d] the importance of minimum-age restrictions.”47          These studies confirm the

reasonable fit between the Pennsylvania Legislature’s setting a minimum-age for open carry of

firearms during states of emergency, which would effectively deter 18-to-20-year-olds from public

carry for the duration of the emergency, and the public safety benefit of a corresponding decrease

in violence.

                                         CONCLUSION

               For the foregoing reasons and those set forth by Defendant, the longstanding

Pennsylvania laws Plaintiffs challenge do not implicate the Second Amendment. Even if they did,

these laws easily survive the appropriate level of scrutiny. In the decades since the Challenged

Laws were enacted, neuroscience and social science have confirmed that the public safety threat

posed by 18-to-20-year-olds publicly carrying firearms during states of emergency is substantial,

and the Pennsylvania Legislature’s measured solution is effective. Plaintiffs ask this Court to step

in and strip the Legislature of its power to respond to the grave public safety threats targeted by

the Challenged Laws.      Nothing in the Second Amendment requires that result. As Judge

Wilkinson, speaking for the Fourth Circuit, said: “This is serious business. We do not wish to be

even minutely responsible for some unspeakably tragic act of mayhem because in the peace of our

judicial chambers we miscalculated as to Second Amendment rights.”48




47
        Ex. 7, Katherine A. Vittes et al., Legal Status and Source of Offenders’ Firearms in States
with the Least Stringent Criteria for Gun Ownership, 19 INJURY PREVENTION 26, 29-30 (2013).
48
       United States v. Masciandaro, 638 F.3d 458, 475 (4th Cir. 2011).



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Dated: January 12, 2021                        Respectfully submitted,

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